       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 1 of 11



 1   ERIC L. CRAMER (pro hac vice)
     BERGER MONTAGUE PC
 2   1818 Market Street, Suite 3600
     Philadelphia, PA 19103
 3   Telephone: (215) 875-3000
     Facsimile: (215) 875-4604
 4   ecramer@bm.net

 5   JOSEPH R. SAVERI (pro hac vice)
     JOSEPH SAVERI LAW FIRM, LLP
 6   601 California Street, Suite 1000
     San Francisco, California 94108
 7   Telephone: (415) 500-6800
     Facsimile: (415) 395-9940
 8   jsaveri@saverilawfirm.com

 9   RICHARD A. KOFFMAN (pro hac vice)
     COHEN MILSTEIN SELLERS & TOLL, PLLC
10   1100 New York Ave., N.W.,
     Suite 500, East Tower
11   Washington, DC 20005
     Telephone: (202) 408-4600
12   Facsimile: (202) 408 4699
     rkoffman@cohenmilstein.com
13
     Counsel for the Class and Attorneys for All
14   Individual and Representative Plaintiffs

15   [Additional Counsel Listed on Signature Page]

16                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
17

18   Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-BNW
     Vera, Luis Javier Vazquez, and Kyle Kingsbury,
19   on behalf of themselves and all others similarly PLAINTIFFS’ MOTION IN LIMINE NO. 18
     situated,                                        TO EXCLUDE EVIDENCE CONCERNING
20                                                    EVENTS, CONDUCT, OR FACTS WHERE
                                                      ZUFFA OBJECTED TO AND DID NOT
21                         Plaintiffs,                PRODUCE DISCOVERY CONCERNING
                                                      SUCH EVENTS, CONDUCT, OR FACTS
22   v.
23   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
24

25                         Defendant.

26

27

28

30                                                                         Case No.: 2:15-cv-01045-RFB-BNW
                                                      i
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
        Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 2 of 11



 1                                                        TABLE OF CONTENTS

 2                                                                                                                                          Page(s)

 3   BACKGROUND .................................................................................................................................. 1

 4   LEGAL STANDARD ........................................................................................................................... 3

 5   ARGUMENT ........................................................................................................................................ 4

 6             I.         Pre-2005 Evidence Is Not Relevant and Should Be Excluded ..................................... 4

 7             II.        Zuffa Objected to Producing Pre-2005 Evidence and Should Not Be Permitted to
                          Introduce Evidence Concerning Pre-2005 Events, Conduct, and Occurrences ............ 5
 8
     CONCLUSION ..................................................................................................................................... 5
 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

30                                                                              i                                Case No.: 2:15-cv-01045-RFB-BNW
     PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
31      ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 3 of 11



 1          Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury

 2   (“Plaintiffs”) file this Motion in Limine to Exclude Evidence Concerning Events, Conduct, Or Facts

 3   Where Defendant Zuffa, LLC (“Defendant” or “Zuffa”) Objected to and Did Not Produce Discovery

 4   Concerning Such Events Conduct or Facts.

 5          This Motion seeks to exclude testimony and other evidence concerning events, conduct, or facts

 6   prior to January 1, 2005 because such older material—in Zuffa’s own words—is “not relevant or

 7   probative” of the claims or defenses in this case. Hrg. Tr. at 22, ECF No. 210. Zuffa objected to

 8   searching for such materials, or even reviewing material when found, and did not produce materials

 9   from the pre-January 1, 2005 unless such materials were contract or correspondence documents relating
10   to Plaintiffs or other fighters in the Class. Zuffa should not be permitted to introduce evidence from that

11   pre-January 1, 2005 period on any other subject.

12           When Plaintiffs served their First Set of Requests for Production of Documents to Zuffa in

13   April 2015, Plaintiffs defined the Relevant Time Period as commencing on July 1, 2000. Zuffa objected

14   to searching for, reviewing, and producing any documents from a period beginning in 2000. Zuffa

15   proclaimed that what happened that long ago “is not relevant or probative” of the issues in this case.

16          Zuffa’s objection to Plaintiffs’ time-period led to the parties meeting and conferring concerning

17   the scope of the relevant time period for discovery. Zuffa ultimately agreed to searching for, reviewing,

18   and producing only a limited set of materials older than January 1, 2005. Specifically, Zuffa agreed to

19   produce documents concerning Plaintiffs and their managers, agents, and representatives, and materials

20   from its centrally maintained fighter contract and correspondence documents for all fighters in the Bout

21   Class, both without a date limitation. ECF No. 199 at 4, 16-17. Zuffa further proposed to search,

22   review, and produce electronic contract files containing scanned contracts from 2000. ECF No. 199 at

23   4, 16-17. Zuffa objected to searching for, reviewing, and producing documents concerning any other

24   topics prior to January 1, 2005.

25                                               BACKGROUND

26           In response to Plaintiffs’ First Set of Requests for Production of Documents and First Set of

27   Interrogatories, Zuffa stated a general objection to Plaintiffs’ Relevant Time Period beginning on July

28

30                                                                                Case No.: 2:15-cv-01045-RFB-BNW
                                                          1
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
          Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 4 of 11



 1   1, 2000 “is overbroad because it stretches well beyond the period which is the basis of the present

 2   action.” Zuffa proceeded to object to individual document requests because they sought “documents

 3   over a 15-year time period….” Exh. T, Defendant Zuffa, LLC’s Responses to Plaintiffs’ First Set of

 4   Requests for Production (“First RFP Responses”) (June 9, 2015).1

 5             On August 26, 2015, Plaintiffs wrote Zuffa a letter confirming the discussions in the parties’

 6   meet and confer. See Exh. U, Letter from John Cove to Michael Dell’Angelo (Aug. 26, 2015). Among

 7   the topics discussed was Plaintiffs’ request (and Zuffa’s rejection of the request) that Zuffa preserve

 8   documents going back to 2000. Id. In Plaintiffs’ follow-up letter of September 7, 2015, Plaintiffs

 9   further described the dispute, namely that Zuffa refused to apply a Relevant Time Period beginning in
10   2000 and that Plaintiffs proposed a compromise of January 1, 2005. See Exh. V, Letter from Michael

11   Dell’Angelo to John Cove (Sept. 7, 2015).

12             Following further meet and confer efforts concerning the scope of Zuffa’s responses to

13   Plaintiffs’ document requests, the parties summarized the status of the meet and confer on the Relevant

14   Time Period in a Joint Status Report (“JSR”) filed with the Court. ECF No. 199 (Nov. 16, 2015). In the

15   November 16, 2015 JSR (at 4-6), the parties described their agreement (reached because of Zuffa’s

16   objection to the time period that began in July 2000) as to time periods pertaining to specific requests.

17   In short, the parties had agreed that Zuffa would search for, review, and produce materials relating to

18   Plaintiffs and their managers, agents, and representatives as well as centrally maintained fighter

19   contracts and correspondence files for fighters in the Class without a date limitation. See id. at 4, 16-17.

20   Zuffa also agreed to produced electronic contract files containing scanned contracts going back to

21   2000. Id. Zuffa refused to produce other categories of documents or documents on other topics prior to

22   2008 or 2009. Id.

23             Plaintiffs had proposed to Zuffa a compromise Relevant Time Period that commenced on

24   January 1, 2005 based on Zuffa’s objection to producing materials from early in the Relevant Time

25   Period described in Plaintiffs’ First Set of Requests for Production of Documents. See Exh. V.

26   Plaintiffs ultimately proposed that compromise date to the Court. See ECF No. 199.

27

28   1
         Exhibit citations are to the Declaration of Joseph Saveri attached hereto.
30                                                                                    Case No.: 2:15-cv-01045-RFB-BNW
                                                            2
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 5 of 11



 1           At the status conference on November 17, 2015, Zuffa’s counsel described a specific set of

 2   documents that Zuffa had located but was resisting even reviewing for responsiveness and production,

 3   stating that the collection “consist of fighter files, sponsor files, merchandise files, licensing files,

 4   acquisition files, and corporate documents, oh, and venue and event files. So it’s a smorgasbord of

 5   things that are in there.” Hrg. Tr. at 11, ECF No. 210. Zuffa’s counsel clarified that Zuffa was agreeing

 6   to produce approximately half of the materials, which were fighter files for class members, venue, and

 7   sponsor files back to 2008, merchandise files back to 2008, but was not going to even review the rest.

 8   Plaintiffs sought review and production of these materials—which dated back to 2000—for

 9   responsiveness, but Zuffa objected to doing so.
10           The parties and the Court then discussed a blanket Relevant Time Period commencement date

11   of January 1, 2005—Plaintiffs’ compromise proposal based on Zuffa’s objection to producing materials

12   from before that date. In that discussion, Zuffa’s counsel asserted that what happened that long ago—

13   even as between 2005 and 2008—“is not relevant or probative” of the claims and defenses in this case.

14   Hrg. Tr. at 22, ECF No. 210. Plaintiffs ultimately prevailed on having the Relevant Time Period begin

15   in January 2005, but the Court did not Order Zuffa to review the hardcopy materials dating back to

16   2000 that Zuffa had located but objected to reviewing and producing responsive material from.

17           Based on Zuffa’s objection to Plaintiffs’ initial requests’ Relevant Time Period of July 1, 2000,

18   and the fact that Zuffa prevailed on not even reviewing materials it located dating back to Plaintiffs’

19   proposed July 1, 2000 start to the Relevant Time Period, Zuffa should not be permitted to offer

20   evidence as to conduct and occurrences prior to January 1, 2005 that are within the scope of Plaintiffs’

21   RFPs unless Zuffa agreed to produce documents concerning such conduct and occurrences.

22                                              LEGAL STANDARD

23           Generally, irrelevant evidence is not admissible. Fed. R. Evid. 402. Evidence that is not

24   “probative” of a fact of consequence in determining the action is not relevant. See Fed. R. Evid. 401;

25   Velazquez v. City of Long Beach, 793 F.3d 1010, 1028 (9th Cir. 2015).

26           In addition, Fed. R. Civ. P. 34 creates a discovery obligation for the party receiving the request.

27   “For each item or category” in Rule 34 requests, “[t]he party to whom the request is directed must

28

30                                                                                   Case No.: 2:15-cv-01045-RFB-BNW
                                                             3
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 6 of 11



 1   respond in writing.” Fed. R. Civ. P. 34(b)(2)(A). “For each item or category, the response must either

 2   state that inspection and related activities will be permitted as requested or state with specificity the

 3   grounds for objecting to the request.” Fed. R. Civ. P. 34(b)(2)(B). Under Fed. R. Civ. P. 37(c)(1), “[i]f

 4   a party fails to provide information or identify a witness as required by Rule 26(a) or (e), the party is

 5   not allowed to use that information or witness to supply evidence … at a trial, unless the failure was

 6   substantially justified or harmless.” Rule 37(c)(1) gives “teeth” to Rule 26’s mandatory disclosure

 7   requirements by forbidding the use at trial of any information that is not properly disclosed. Ollier v.

 8   Sweetwater Union High Sch. Dist., 768 F.3d 843, 861 (9th Cir. 2014). Rule 37(c)(1) is a “self-

 9   executing, automatic” sanction designed to provide a strong inducement for disclosure. Goodman v.
10   Staples, The Office Superstore, 644 F.3d 817, 827 (9th Cir. 2011). Fed. R. Civ. P. 37(a)(4) explicitly

11   provides that an evasive or incomplete response to a discovery obligation “is to be treated as a failure to

12   disclose, answer, or respond.” The Ninth Circuit gives “wide latitude” to a district court’s discretion to

13   issue sanctions under Rule 37(c)(1). Ollier, 768 F.3d at 859. The burden is on the party facing the

14   sanction to prove harmlessness. See Torres v. City of Los Angeles, 548 F.3d 1197, 1213 (9th Cir. 2008).

15                                                  ARGUMENT

16          I.      Pre-2005 Evidence Is Not Relevant and Should Be Excluded

17          As Zuffa has claimed, evidence pertaining to pre-2005 events, conduct, and facts is not relevant

18   or probative of the claims and defenses in this matter, Hrg. Tr. at 22, ECF No. 210, and should

19   therefore be excluded as inadmissible and irrelevant.

20          It is only now on the eve of trial, approaching nine years after Zuffa told Plaintiffs and the Court

21   that pre-2005 evidence is not relevant and nearly seven years have fact discovery closed, that Zuffa’s

22   new lawyers have indicated their intent to introduce evidence concerning pre-2005 events, conduct, and

23   facts are relevant. Such gamesmanship should not be countenanced by the Court: Zuffa should be held

24   to its prior position on relevance and pre-2005 events, conduct, and facts should be ruled inadmissible

25   because they are not relevant.

26

27

28

30                                                                                  Case No.: 2:15-cv-01045-RFB-BNW
                                                           4
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 7 of 11



 1          II.     Zuffa Objected to Producing Pre-2005 Evidence and Should Not Be Permitted to
                    Introduce Evidence Concerning Pre-2005 Events, Conduct, and Occurrences
 2

 3          Zuffa objected to and did not search for, review, and produce documents during this pre-2005

 4   period outside of a limited set of materials. Zuffa even located a collection of materials in its

 5   possession, custody, and control from that pre-2005 time period that Zuffa believed had responsive

 6   information in it. Zuffa refused to review these materials because, as Zuffa’s counsel asserted, these

 7   older materials are “not relevant or probative.” Hrg. Tr. at 22, ECF No. 210.

 8           Now, Zuffa believes that it should be able to have its witnesses testify about events, conduct, or

 9   facts from before January 1, 2005. Zuffa’s present position stands in direct opposition to its discovery

10   position that such events, conduct, or facts are “not relevant or probative.” Hrg. Tr. at 22:18-22, ECF

11   No. 210. Zuffa should not be permitted to shirk its discovery obligations pursuant to Rule 34 so as to

12   deprive Plaintiffs the opportunity to explore these events, conduct, and facts with the benefit of

13   documents at deposition, and then turn around and have its witnesses testify to these events, conduct

14   and facts without fear of impeachment materials produced in discovery.

15          Zuffa’s incomplete production in response to Plaintiffs’ Rule 34 requests is not and cannot be

16   harmless or substantially justified. Although Plaintiffs had the opportunity to depose certain witnesses

17   concerning events, conduct, and facts pre-dating January 1, 2005, Plaintiffs’ ability to explore the

18   potential areas that Zuffa will explore at trial was hampered by the lack of document productions

19   concerning that pre-January 2005 period.

20          Fed. R. Civ. P. 37(c)(1) empowers the Court to exclude evidence where a party did not comply

21   with its discovery obligation. That circumstance applies here. Zuffa did not comply with its discovery

22   obligations pursuant to Fed. R. Civ. P. 34, evading review and production of documents concerning the

23   pre-2005 period, and Zuffa should not now be permitted to cry foul as to documents it itself did not

24   turn over in discovery.

25                                                CONCLUSION

26          Plaintiffs respectfully request that the Court rule evidence concerning all events, conduct, and

27   occurrences prior to January 1, 2005 be deemed inadmissible and excluded with the exception of the

28

30                                                                                 Case No.: 2:15-cv-01045-RFB-BNW
                                                           5
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 8 of 11



 1   limited scope of materials for which Zuffa participated in discovery for that time period, namely,

 2   Plaintiffs and their representatives as well as fighter contracts for members of the Class.

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

30                                                                                Case No.: 2:15-cv-01045-RFB-BNW
                                                          6
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
       Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 9 of 11



 1   Dated: February 29, 2024                   Respectfully submitted,

 2                                              /s/ Joseph R. Saveri
                                                Joseph R. Saveri (pro hac vice)
 3
                                                Kevin E. Rayhill (pro hac vice)
 4                                              Christopher Young (pro hac vice)
                                                Itak Moradi (pro hac vice)
 5                                              JOSEPH SAVERI LAW FIRM, LLP.
                                                601 California St., Suite 1000
 6                                              San Francisco, CA 94108
                                                Telephone: +1 (415) 500-6800
 7
                                                Facsimile: +1 (415) 395-9940
 8                                              Email: jsaveri@saverilawfirm.com
                                                Email: krayhill@saverilawfirm.com
 9                                              Email: cyoung@saverilawfirm.com
                                                Email: imoradi@saverilawfirm.com
10
                                                /s/ Eric L. Cramer
11                                              Eric L. Cramer (pro hac vice)
                                                Michael C. Dell’Angelo (pro hac vice)
12                                              Ellen T. Noteware (pro hac vice)
13                                              Patrick F. Madden (pro hac vice)
                                                Najah Jacobs (pro hac vice)
14                                              BERGER MONTAGUE PC
                                                1818 Market St., Suite 3600
15                                              Philadelphia, PA 19103
                                                Telephone: +1 (215) 875-3000
16                                              Email: ecramer@bm.net
17                                              Email: mdellangelo@bm.net
                                                Email: enoteware@bm.net
18                                              Email: pmadden@bm.net
                                                Email: njacobs@bm.net
19
                                                Joshua P. Davis (pro hac vice)
20                                              BERGER MONTAGUE PC
                                                505 Montgomery Street, Suite 625
21                                              San Francisco, CA 94111
22                                              Telephone: +1 (415) 906-0684
                                                Email: jdavis@bm.net
23
                                                Richard A. Koffman (pro hac vice)
24                                              Benjamin Brown (pro hac vice)
                                                Daniel Silverman (pro hac vice)
25
                                                Daniel L. Gifford (pro hac vice)
26                                              COHEN MILSTEIN SELLERS & TOLL, PLLC
                                                1100 New York Ave., N.W., Suite 500 East, Tower
27                                              Washington, DC 20005
                                                Telephone: +1 (202) 408-4600
28

30                                                                         Case No.: 2:15-cv-01045-RFB-BNW
                                                      7
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
      Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 10 of 11



 1                                              Facsimile: +1 (202) 408-4699
                                                Email: rkoffman@cohenmilstein.com
 2                                              Email: bbrown@cohenmilstein.com
                                                Email: dsilverman@cohenmilstein.com
 3
                                                Email: dgifford@cohenmilstein.com
 4
                                                Co-Lead Counsel for the Class and Attorneys for
 5                                              Individual and Representative Plaintiffs

 6                                              Don Springmeyer (Bar No. 1021)
                                                KEMP JONES, LLP
 7                                              3800 Howard Hughes Parkway, 17th Floor
                                                Las Vegas, Nevada 89169
 8                                              Telephone: + 1 (702) 385-6000
                                                Facsimile: + 1 (702) 385-6001
 9                                              Email: dspringmeyer@kempjones.com
10                                              Liaison Counsel for the Class and Attorneys for
                                                Individual and Representative Plaintiffs
11
                                                Robert C. Maysey (pro hac vice)
12                                              Jerome K. Elwell (pro hac vice)
                                                WARNER ANGLE HALLAM JACKSON &
13                                              FORMANEK PLC
                                                2555 E. Camelback Road, Suite 800
14                                              Phoenix, AZ 85016
                                                Telephone: +1 (602) 264-7101
15                                              Facsimile: +1 (602) 234-0419
                                                Email: rmaysey@warnerangle.com
16                                              Email: jelwell@warnerangle.com
17                                              Crane M. Pomerantz
                                                CLARK HILL PLC
18
                                                1700 Pavilion Center Dr.
19                                              Suite 500
                                                Las Vegas, NV 89135
20                                              Telephone: +1 (702) 697-7545
                                                Email: cpomerantz@clarkhill.com
21
                                                Additional Counsel for the Class and Attorneys for
22
                                                Individual and Representative Plaintiffs
23

24

25

26

27

28

30                                                                          Case No.: 2:15-cv-01045-RFB-BNW
                                                      8
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
      Case 2:15-cv-01045-RFB-BNW Document 1001 Filed 02/29/24 Page 11 of 11



 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on this 29th day of February, 2024 a true and correct copy of

 3   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS,

 4   CONDUCT, OR FACTS WHERE ZUFFA OBJECTED TO AND DID NOT PRODUCE

 5   DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS was served via the District

 6   Court of Nevada’s ECF system to all counsel of record who have enrolled in this ECF system.

 7

 8                                                               /s/ Joseph R. Saveri
                                                                    Joseph R. Saveri
 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

30                                                                              Case No.: 2:15-cv-01045-RFB-BNW
                                                         9
31   PLAINTIFFS’ MOTION IN LIMINE NO. 18 TO EXCLUDE EVIDENCE CONCERNING EVENTS, CONDUCT, OR FACTS WHERE
        ZUFFA OBJECTED TO AND DID NOT PRODUCE DISCOVERY CONCERNING SUCH EVENTS, CONDUCT, OR FACTS
